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IN THE UNITED STATES DISTRICT COURT 88) 0)
FOR THE DISTRICT OF PUERTORICO  .. .

UNITED STATES OF AMERICA,
Vv.

GOPALKRISHNA PAI,
Defendant.

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INDICTMENT

O46 (6h

CRIMINAL VIOLATIONS:
Count 1: 18 U.S.C. § 1349

CRIMINAL NO. 19-

Counts 2-20: 18 U.S.C. § 1343
Counts 21-26: 18 U.S.C. § 1028A
Counts 27-34: 18 U.S.C. § 1957

34 COUNTS &
FORFEITURE ALLEGATIONS

 

 

INDICTMENT

THE GRAND JURY CHARGES:

At all times material to this Indictment:

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F9 Advertising LLC (hereinafter “F9”) was a for profit limited liability company organized in
Puerto Rico on or about May 27, 20 14 and registered under the Export Services Act, Puerto Rico
Act 20 of 2012.

F9 engaged in the sale of personal care products, including skin creams, via the internet utilizing
a negative option marketing model. Negative option marketing is a category of commercial
transactions in which sellers interpret a customer’s failure to take an affirmative action, either to

reject an offer or cancel an agreement, as assent to be charged for goods or services.

. Defendant GOPALKRISHNA PATI solely owned and operated F9.

Defendant GOPALKRISHNA PAI served as the President, Secretary, and Treasurer of F9.
Defendant GOPALKRISHNA PAI created certain limited liability companies (hereinafter
“Straw Companies”), obtained individual Employer ID Numbers (hereinafter “EIN’”s) from the

Internal Revenue Service (hereinafter “IRS”) for each Straw Company and opened individual
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commercial bank accounts under his control for each Straw Company. The Straw Companies

include the following:

lL, Advertising Unleashed LLC

2, Accent Plus Solutions

3. Ace Initiative Group LLC

4, Action First Advertising LLC

5. Ad Speed LLC

6. Ads Nexus LLC

7. Advertising Unleashed LLC

8. Altitude Ads Ventures LLC

9. Apex Ads Group LLC

10. Apex Horizon Media LLC

il. Apex Quantum Ventures LLC

12 Apex Synergy Solutions LLC

13. Apexis River Media LLC

14. Big League Ads LLC

15. Bright Future Concepts LLC

16. = C Financial LLC

17. Calculated Clicks Media LLC

18. Capital Advertising Network LLC
19. Capital Leads Network LLC

20. Central Media Net LLC

21. Connected Ad Station LLC

22. Connected Media Ventures LLC
23. Creative Media Solutions LLC
24. — Definitive Advertising LLC

25. Direct Marketing Zenith LLC

26. Dynamo Concept Ventures LLC
27. Elevated Optimal Solutions LLC
28. Elite Clicks Network LLC

29. Exact Edge Ads LLC

30. Exceptional Media Network LLC
31. EXMLLC

32. Expedited Ventures LLC

33. Fastlane Sales LLC

34. Focused Enterprise Solutions LLC
35. Focused Innovation Concepts LLC
36. Force of Ads LLC

37. Forward Media Solutions LLC
38. Frontier Development Systems LLC
39. Great Minds Media LLC

40. Greatness In Ads LLC

41. Health Wonder LLC

42. High Point Solutions LLC

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43. High Synergy Concepts LLC
44. Hyper Line Advertising LLC
45, Hyper Marketing Solutions LLC
46. Innovate Ads Enterprise LLC
47. Innovate Media LLC
48, Innovation Prime LLC
49, Innovus Future Ads LLC
50. Insight Operations LLC
51. Insight River Solutions LLC
52. Intrinsic Media Funnels LLC
53. Intrinsic Ventures LLC
54. Kinetic Ventures LLC
55. Laser Edge Concepts LLC
56. Laser Focused Precision LLC
57. Lifestyle Innovations LLC
58. Link Point Ventures LLC
59. Media Mastery LLC
60. Media Redefined LLC
61. Moonlight Wellness LLC
62. No Limits Network LLC
63. North Coast Ventures LLC
64. On Demand Ads LLC
65. Optimized Ventures LLC
66. Optimum Capital Resources LLC
67. Perfect Precision Media LLC
68. Phoenix Media Solutions LLC
69. Precise Concept Solutions LLC
70. Precision Media Inc
71. Precision Media LLC
72. Precision Networks LLC
73. Premium Placements Media LLC
74, Prime Advertising LLC
75. Prime Capital Advertising LLC
76. Primed Marketing LLC
77. Principal Media Ventures LLC
78. Priority Ads LLC
79, Quantum Level Media LLC
80. Quantum Networks LLC
$l. Ready Set Media LLC
82. Real Nutra Solutions LLC
83. Redefined Media Process LLC
84. Responsive Media LLC
85. Ridge Multimedia
86. Ridge Multimedia Inc
87. Right Side Ads LLC
88. Source of Sales LLC

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89. Sunshine Media Solutions LLC
90. Supremacy Media LLC

91. Synergy Ads Ventures LLC

92. Synergy Solutions Media LLC
93. Tailwind Networks LLC

94. Targeted Media Group LLC
95. Terminus Media Group LLC
96, Think Forward Ventures LLC
97. Top Internet Ventures LLC

98. Top Point Solutions LLC

99, Transcendent Health LLC

100. True Ads Media LLC

101. True Ads Network LLC

102. True Health Innovations LLC
103. True Health Solutions LLC
104. True Initiative LLC

105. True Optimal Ventures LLC
106. Turbo Marketing Solutions LLC
107. Ultimate Media Solutions LLC
108. Ultimate Offer Central LLC
109, Ultra Offers LLC

110. Upsurge Health LLC

111. Velocity Ventures Media LLC
112. Vypr Media Network LLC

113. Wavefront Media LLC

114. Wavefront Optimal Ventures LLC
115. Xenos Media LLC

116. Xtreme Point Offers LLC

MERCHANT PROCESSORS
6. Merchant processors were companies providing services to other businesses to process electronic
payments, including but not limited to credit card payments.
7. Humboldt Merchant Services (hereinafter “Humboldt”) was a merchant processor company
operating in California that provided credit card processing and electronic payment services.
8. Paysafe Group Limited (hereinafter “Paysafe’”) was a multinational merchant processor company

operating in the United States that provided credit card processing and electronic payment

Services.

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9. Global Merchant Advisors (hereinafter “Global”) was a merchant processor company operating
in California that provided credit card processing and electronic payment services. Global is a
Paysafe subsidiary.

10. Merchant Payment Acceptance Corp. (hereinafter “PayKings”}) was a merchant processor
company operating in Washington that provided credit card processing and electronic payment
services.

11. Together, Humboldt, Paysafe, Global, and PayKings are referred to herein as “the Merchant
Processors.”

12. The Merchant Processors established internal policies to close and terminate merchant accounts
and bar the owners of those accounts from processing future transactions, including when
excessive chargebacks were requested. A chargeback is the mechanism utilized to reverse a
payment or otherwise process a refund for a specific monetary transaction processed by the
Merchant Processors. The industry standard for closing an account when excessive chargebacks
are requested is when chargebacks exceeded the greater of 1% of monthly transactions or 100
chargebacks in one month.

FINANCIAL INSTITUTIONS

 

13. Capital One, N.A. and Capital One Bank (USA), N.A. were financial institutions, as that term is
defined by 18 U.S.C. § 20, were insured by the Federal Deposit Insurance Corporation
(hereinafter “FDIC”), and provided commercial and personal banking services under the name
“Capital One.”

14. Defendant GOPALKRISHNA PAI maintained and controlled a bank account at Capital One

with Account Number XX X°°X8569 in the name of F9.

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Discover Bank was a financial institution, as that term is defined by 18 U.S.C. § 20, was insured
by the FDIC, and provided personal banking services to Defendant GOPALKRISHNA PAI.
Defendant GOPALKRISHNA PAI maintained and controlled a checking account at Discover
Bank with Account Number XXXXX3777 and a savings account with Account Number
XXXKX3 593.

Merrick Bank was a financial institution, as that term is defined by 18 U.S.C. § 20, was insured
by the FDIC, and provided commercial banking services to PayKings.

BMO Harris Bank National Association was a financial institution, as that term is defined by 18

U.S.C. § 20, was insured by the FDIC, and provided commercial banking services to Humboldt.

ADDITIONAL ENTITIES

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Dropbox, Inc. was a company headquartered in San Francisco, California, which provided
electronic cloud storage and file synchronization via a file hosting service application known as
“Dropbox.” The Dropbox application permits users to store the content of electronic files in a
specialized folder on the user’s computer or electronic device which is synchronized to
Dropbox’s servers and accessible to other computers and electronic devices permitted to access
the specialized folder.
CONSPIRACY AND SCHEME TO DEFRAUD

From in or about May 2014, through in or about October 2018, Defendant GOPALKRISHNA
PAI conspired, devised, and engaged in a scheme to defraud merchant processors and others by
submitting false information and falsified documentation to create merchant accounts in the name
of Straw Companies, to process credit card and electronic payments, and to receive a substantial
financial benefit.

Participants in the conspiracy and scheme to defraud recruited real individuals to serve as

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nominees for merchant accounts to be opened with merchant processors in the name of Straw

Companies.

. Once recruited, nominees provided participants in the conspiracy and scheme to defraud with

their personal identification information, including but not limited to their name, social security
account number, signature, personal bank statements, tax returns, and a copy of their driver’s

license.

. Participants in the conspiracy and scheme to defraud shared the nominees’ documentation and

personal identification information electronically, including via Dropbox, all through interstate

wire communications with each other, including with Defendant GOPALKRISHNA PAL.

. Participants in the conspiracy and scheme to defraud falsified information and documentation,

including on EIN records and bank statements, which were submitted electronically via interstate
wire to the Merchant Processors to create merchant accounts in the name of the Straw Companies.
Participants in the conspiracy and scheme to defraud purchased the use of proxy servers
(hereinafter “proxies”) and utilized internet protocol addresses (hereinafter “IPs”) to disguise the
identity and location of communications made via the internet in furtherance of the conspiracy

and scheme to defraud.

. By submitting materially false information and documentation, the participants in the conspiracy

and scheme to defraud opened multiple merchant accounts and precluded the Merchant
Processors from identifying that the Straw Companies were in fact related, controlled and

operated by Defendant GOPALKRISHNA PAT.

. By utilizing over one hundred (100) straw companies, Defendant GOPALKRISHNA PAT was

shielded from consumer complaints and chargeback disputes.
In the event that a merchant account in the name of a Straw Company was closed by a Merchant

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Processor, including due to excessive chargebacks, other merchant accounts would be unaffected
because the Merchant Processor was unable to determine that they were related and controlled

by Defendant GOPALKRISHNA PAI.

. Payments made by consumers for products advertised by Defendant GOPALKRISHNA PAI

and F9 were made via the Merchant Processors to bank accounts in the name of Straw Companies
and controlled by Defendant GOPALKRISHNA PAL
Participants in the conspiracy and scheme to defraud requested the electronic transfer of funds
from the bank accounts in the name of the Straw Companies to the bank account in the name of
F9 controlled by Defendant GOPALKRISHNA PAI, that is Capital One Account Number
XXXXX8569.
Defendant GOPALKRISHNA PAI utilized funds from the conspiracy and scheme to defraud
to pay co-conspirators, to transfer funds to personal accounts, and for personal expenses.
Participants in the conspiracy and scheme to defraud obtained approximately $98 million in total
revenue, processed based on materially false information, through the Merchant Processors in
the names of the Straw Companies.

COUNT 1

(Conspiracy to Commit Wire and Bank Fraud)
18 U.S.C. § 1349

. Paragraphs 1-32 are hereby re-alleged as if set forth herein.

From in or about May 2014 through in or about October 2018, in the District of Puerto Rico and
within the jurisdiction of this Court,

GOPALKRISHNA PAI
the defendant herein, did knowingly and willfully combine, conspire, confederate, and agree with
others known and unknown to the Grand Jury to commit an offense contained in Chapter 63, of

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Title 18, of the United States Code, that is wire fraud in violation of 18 U.S.C. § 1343 and bank
fraud in violation of 18 U.S.C. § 1344(2).
OBJECT OF THE CONSPIRACY
It was the common purpose and object of the unlawful conspiracy for Defendant
GOPALKRISHNA PAI and others to conspire to engage in deceptive conduct designed to
fraudulently obtain financial payments through merchant processors and financial institutions
based on material representations, fraudulent information, and falsified documentation.
MANNER AND MEANS
It was part of the manner and means of the unlawful conspiracy that the Straw Companies were

utilized to open merchant accounts with the Merchant Processors.

. It was part of the manner and means of the unlawful conspiracy that materially false information

and falsified documentation was submitted to the Merchant Processors in order to open merchant
accounts in the name of the Straw Companies.

It was part of the manner and means of the unlawful conspiracy that the true owner and operator
of the Straw Company was disguised through the falsification of records and communications in
order to prevent merchant processors and financial institutions from having knowledge of the
true owner and operator.

It was part of the manner and means of the unlawful conspiracy that real individuals’ personal
identification information, including their name and signature, were transferred, possessed, and
used to open merchant accounts with the Merchant Processors.

It was part of the manner and means of the unlawful conspiracy that materially false information
and falsified documentation was submitted to merchant processors to avoid the closure and
termination of merchant accounts.

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41. It was part of the manner and means of the unlawful conspiracy that credit card and other
payments processed by the Merchant Processors were paid to accounts in the name of the Straw
Companies, controlled by Defendant GOPALKRISHNA PAI.

42. It was part of the manner and means of the unlawful conspiracy that payments were made to
participants in the conspiracy from the net proceeds.

43. It was part of the manner and means of the unlawful conspiracy that proceeds of the conspiracy
were received by Defendant GOPALKRISHNA PAI.

All in violation of 18 U.S.C. § 1349,

COUNTS 2-20
(Wire Fraud)
18 U.S.C. § 1343
44, Paragraphs 1-32 are hereby re-alleged as if set forth herein.
SCHEME AND ARTICE TO DEFRAUD
45, From in or about May 2014 through in or about October 2018, in the District of Puerto Rico and
within the jurisdiction of this Court,
GOPALKRISHNA PAI
the defendant herein, devised and intended to devise a scheme to defraud merchant processor
companies, including Humboldt, Paysafe, Global, and PayKings, and to obtain money and
property by means of materially false and fraudulent pretenses, representations and promises.
MANNER AND MEANS
46. It was part of the scheme and artifice to defraud that participants in the scheme financially

benefitted from the submission of materially false information and falsified documentation to the

Merchant Processors in order to create merchant accounts in the name of the Straw Companies

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and prevent the Merchant Processors from determining the true owner and operator of the Straw
Companies.

It was part of the scheme and artifice to defraud that email communications and internet
transmissions via interstate wire were utilized to submit merchant account documents to the
Merchant Processors, including applications, containing materially false representations and
falsified documentation.

It was part of the scheme and artifice to defraud that that materially false EIN documents and
materially false bank statements were sent via interstate wire communication to the Merchant
Processors.

It was part of the scheme and artifice to defraud that Defendant GOPALKRISHNA PAI
materially misrepresented to the Merchant Processors the identity, location, and name of the true
owner and operator of the Straw Companies, which was in fact Defendant GOPALKRISHNA
PAI.

It was part of the scheme and artifice to defraud that real individuals’ personal identification
information, including their names and signatures, were transferred, possessed, and used to apply
to open merchant accounts with the Merchant Processors in the name of the Straw Companies.
It was part of the scheme and artifice to defraud that materially false information and falsified
documentation was submitted to merchant processors to avoid the closure and termination of

merchant accounts.

. It was part of the scheme and artifice to defraud that credit card and other payments processed

by the Merchant Processors were paid to accounts in the name of the Straw Companies,

controlled by Defendant GOPALKRISHNA PALI.

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53. It was part of the scheme and artifice to defraud that payments were made to participants in the

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conspiracy from the net proceeds.

54, It was part of the scheme and artifice to defraud for participants in the scheme to use proceeds

from the scheme to transfer to money others and for personal use.

55. On or about each of the dates set forth below, in the District of Puerto Rico,

the defendant herein, for the purpose of executing the scheme described above, and attempting
to do so, caused to be transmitted by means of wire communication in interstate commerce the

signals and sounds described below for each count, each transmission constituting a separate

GOPALKRISHNA PAI

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

portal for Elevated Optimal Solutions LLC

 

count:
Count. Description - 2 eee ae oo eee | Date.

2 Email to PayKings attaching a merchant a account ‘application for December 20, 3016
Velocity Ventures Media LLC

3 Email to PayKings attaching a merchant account application for | December 8, 2016
Elevated Optimal Solutions LLC

4 Email to PayKings attaching a merchant account application for | December 28, 2016
Big League Ads LLC

5 Email! to PayKings attaching a merchant account application for | October 20, 2016
Hyper Line Advertising LLC

6 Email to PayKings attaching a merchant account application for October 11, 2016
Greatness In Ads LLC

7 Email to GMA attaching a merchant account application for | December 19, 2016
Velocity Ventures Media LLC

8 Email to GMA attaching a merchant account application for | December 8, 2016
Elevated Optimal Solutions LLC

9 Email to GMA attaching a merchant account application for Big | December 28, 2016
League Ads LLC

10 Email to GMA attaching a merchant account application for | October 20, 2016
Hyper Line Advertising LLC

11 Email to GMA attaching a merchant account application for | October 11, 2016
Greatness In Ads LLC

12 Merchant account application submitted through Paysafe’s online | February 2, 2017
portal for Velocity Ventures Media LLC

13 Merchant account application submitted through Paysafe’s online | January 9, 2017

 

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14 | Merchant account application submitted through Paysafe’s online | February 8, 2017
portal for Big League Ads LLC

15 Merchant account application submitted through Paysafe’s online | November 4, 2016
portal for Greatness In Ads LLC

16 | Email to Humboldt attaching a merchant account application for | December 19, 2016
Velocity Ventures Media LLC

17 Email to Humboldt attaching a merchant account application for | December 8, 2016
Elevated Optimal Solutions LLC

18 Email to Humboldt attaching a merchant account application for | December 28, 2016
Big League Ads LLC

19 Email to Humboldt attaching a merchant account application for | September 30, 2016
Hyper Line Advertising LLC

20 | Email to Humboldt attaching a merchant account application for | October 11, 2016
Greatness In Ads LLC

56. All in violation of Title 18, United States Code, Section 1343.

57.

58.

COUNTS 21-25
(Aggravated Identity Theft)

18 U.S.C. § 1028A
Paragraphs 1-32 are hereby re-alleged as if set forth herein.
On or about the dates set forth below, in the District of Puerto Rico and within the jurisdiction of
this Court,

GOPALKRISHNA PAI
the defendant herein, aiding and abetting others, did knowingly and willfully cause the transfer,
possession, and use, without lawful authority, of a means of identification of another person, to
wit: the name, social security number, date of birth, and signature of other real persons whose
initials appear below, during and in relation to a felony enumerated in 18 U.S.C. § 1028A(c), to
wit: under 18 U.S.C. §§ 1343, 1344(2), 1349 and under 18 U.S.C. § 1028(a)(7) and (f). All in

violation of 18 U.S.C. § 1028A(a)(1) and 2.

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LLC submitted to Humboldt on or about December 19,
2016

 

 

Count | Description — eel Identification. Ses

21 | Merchant account application for “Elevated Optimal | Name, social security number,
Solutions LLC submitted to Humboldt on or about | and signature of J.P.
December 8, 2016

22 | Merchant account application for Big League Ads LLC Name, social security number,
submitted to Humboldt on or about December 28, 2016 and signature of S.P.

23 | Merchant account application for Hyper Line Advertising | Name, social security number,
LLC submitted to Humboldt on or about September 30, and signature of T.K.
2016

24 | Merchant account application for Greatness In Ads LLC Name, social security number,
submitted to Humbeldt on or about October 11, 2016 and signature of L.K.

25 | Merchant account application for Velocity Ventures Media | Name, social security number,

and signature of W.C.

 

59.

60.

Each Count is a separate and distinct violation of 18 U.S.C. § 1028A(a)(1) and 2.

COUNTS 26-34

(Engaging in Monetary Transactions in Property
Derived from Specified Unlawful Activity)

18 U.S.C. § 1957

Paragraphs 1-32 are hereby re-alleged as if set forth herein.

On or about the dates set forth below, in the District of Puerto Rico and within the jurisdiction

of this Court,

GOPALKRISHNA PAI

the defendant herein, did knowingly engage and attempt to engage in the following monetary

transactions by through or to a financial institution, affecting interstate or foreign commerce, in

criminally derived property of a value greater than $10,000, that is the deposit, withdrawal, and

transfer of U.S. currency, funds, and monetary instruments, such property having been derived

from a specified unlawful activity, that is, bank fraud in violation of 18 U.S.C. § 1344(2), wire

fraud in violation of 18 U.S.C. § 1343, and conspiracy to commit bank fraud and wire fraud in

violation 18 U.S.C. § 1349,

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ney ee ‘Description: Les - Sangeet

 

 

Transfer from Elevated Optimal Solutions LLC

Capital One account XXXXX2296 to F9 Capital
One account XXXAXK8569

February 10, 2017

$70,117.98

 

Transfer from Big League Ads LLC Capital One
account XXXXX2318 to F9 Capital One account
XXKXX8569

March 30, 2017

$57,711.62

 

Transfer from Hyper Line Advertising LLC
Capital One account XXXXX2202 to F9 Capital
One account XXXXX8569

January 12, 2017

$71,009.01

 

Transfer from Hyper Line Advertising LLC
Capital One account XXXXX3466 to F9 Capital
One account XXXXX8569

April 9, 2018

$100,378.86

 

30

Transfer from Precision Networks LLC Capital
One account XXXX%X8607 to F9 Capital One
account AAAAK8569

December 29, 2016

$54,326.16

 

31

Transfer from Greatness In Ads LLC Capital One
account XXXXX2393 to F9 Capital One account
XXKXX8569

January 12, 2017

$89,069.75

 

Transfer from F9 Capital One account
XXXXX8569 to Gopalkrishna Pai Discover Bank
account XXKXX3593

April 18, 2017

$1,410,000

 

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Transfer from F9 Capital One account
XXXXX8569 to Gopalkrishna Pai Discover Bank
account XXXXX3777

November 1, 2017

$425,000

 

 

34

 

Transfer from F9 Capital One account
XXXXX8569 to Gopalkrishna Pai Discover Bank
account XXXXX3777

 

November 1, 2017

 

$450,000

 

All in violation of 18 U.S.C. § 1957.

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FRAUD FORFEITURE ALLEGATIONS

The allegations contained in Counts 1-20 of this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C.§ 981(a)(1\(C)
and 28 U.S.C. § 2461(c).

Upon conviction of an offense in violation of 18 U.S.C. § 1344, 1343, or 1349 as set forth in
Counts 1-20 of this Indictment,

GOPALKRISHNA PAI
the defendants herein, shall forfeit to the United States of America, pursuant to 18 U.S.C. § 981(a)(1)(C)
and 28 U.S.C. § 2461(c), any property, real or personal, which constitutes or is derived from proceeds
traceable to the offenses, including, but not limited to the following:
a) amoney judgment in the amount of $98,429,205.

If any of the property described above, as a result of any act or omission of the defendant (a)
cannot be located upon the exercise of due diligence; (b) has been transferred or sold to, or deposited
with, a third party; (c) has been placed beyond the jurisdiction of the court; (d) has been substantially
diminished in value; or (¢) has been commingled with other property which cannot be divided without
difficulty, the United States of America shall be entitled to forfeiture of substitute property pursuant to
21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

All pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c).

MONEY LAUNDERING FORFEITURE ALLEGATIONS

The allegations contained in Counts 26-34 of this Indictment are hereby re-alleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to 18 U.S.C. § 982(a)(1).

Pursuant to 18 U.S.C. § 982(a)}(1), upon conviction of an offense in violation of 18 U.S.C.

§ 1957,

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GOPALKRISHNA PAI
the defendant herein, shall forfeit to the United States of America any property, real or personal,
involved in such offense, and any property traceable to such property. The property to be forfeited
includes, but is not limited to the following:
a) amoney judgment in the amount of $2,727,613.38.

If any of the property described above, as a result of any act or omission of the defendant (a)
cannot be located upon the exercise of due diligence; (b) has been transferred or sold to, or deposited
with, a third party; (c) has been placed beyond the jurisdiction of the court; (d) has been substantially
diminished in value; or (e) has been commingled with other property which cannot be divided without
difficulty, the United States of America shall be entitled to forfeiture of substitute property pursuant to

21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c).

ANT www or

“KORE PERSON

f Ong JIS [22/6

Date “

 

ROSA EMILIA RODRIGUEZ-VELEZ
United States Attorney

 

 
  

sistant United States Attorney
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hie ~€riminal Division

   

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Sepsterl Ferndpdéz-Gonzalez Seth A. Erbe

Assistant United States Attorney Assistant United States Attorney
Deputy Chief, Financial Fraud &

Corruption Unit

 

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